Case 1:04-cv-01282-.]DT-STA Document 9 Filed 08/05/05 Page 1 of 2 Page|D 16
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IN THE UNITED STATES DISTRICT COURT 05
FOR THE WESTERN DISTRICT OF TENNE`SSEE

  

 

EASTERN DIVISION

m '~

v:_/“
PATRICIA BAKER_, )
)
Plaintiff, )
)

v. ) Case Nc. 1-04-1282

)
H.AMILTON-RYKER GROUP, LLC )
)
Dei"endant. )

 

ORDER OF DISMISSAL WITH PREJUI)ICE

 

lt being represented by the parties that they have stipulated to dismissal With prejudice cf
all claims before this Court
IT IS. THEREFORE, ORDERED, ADJUDGED AND DECREED that this cause is

hereby dismissed with prejudice, each party 10 bear its own costs.

CY/M>».M

Uiiited/States District Judge

Date:(/ §Q¢W M{

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This notice confirms a copy of the document docketed as number 9 in
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Honorable J ames Todd
US DISTRICT COURT

